          Case 6:13-cr-60039-SOH Document 38                             Filed 12/06/13 Page 1 of 6 PageID #: 148
AO 245D      (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 1



                                     UNITED STATES DISTRICT COURT
                                                        Western District of Arkansas
          UNITED STATES OF AMERICA                                       Judgment in a Criminal Case
                     v.                                                  (For Revocation of Probation or Supervised Release)



             BOBBY JOE ROBINSON                                          Case No.         6:13CR60039-002
                                                                         USM No.          11454-010
                                                                         Benjamin D. Hooten
                                                                                                  Defendant’s Attorney
THE DEFENDANT:
X admitted guilt to violation of condition(s)            Standard Condition #7           of the term of supervision.
G was found in violation of condition(s)                                             after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                    Violation Ended
Standard Condition #7        Offender tested positive for marijuana on or about September 6, 11 and    10/9/2013
                              October 9, 2013. Offender provided dilute urine samples on September
                              6 and 18, 2013. On or about September 23, 2013, offender provided a
                              sample that was “not consistent with human urine” according to lab
                              reports.


       The defendant is sentenced as provided in pages 2 through             6       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has not violated condition(s)                               and is discharged as to such violation(s) condition.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

                                                                         December 5, 2013
                                                                                             Date of Imposition of Judgment

                                                                         /s/ Susan O. Hickey
                                                                                                   Signature of Judge

                                                                         Honorable Susan O. Hickey, United States District Judge
                                                                                                Name and Title of Judge

                                                                         December 6, 2013
                                                                                                          Date
          Case 6:13-cr-60039-SOH Document 38                                Filed 12/06/13 Page 2 of 6 PageID #: 149
AO 245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations
              Sheet 2— Imprisonment

                                                                                                     Judgment — Page   2       of   6
DEFENDANT:                     ROBINSON, Bobby Joe
CASE NUMBER:                   6:13CR60039-002

                                                                  IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of :         six (6) months




     G The court makes the following recommendations to the Bureau of Prisons:




     X The defendant is remanded to the custody of the United States Marshal.

     G The defendant shall surrender to the United States Marshal for this district:
          G     at                                   G a.m.        G p.m.       on                                         .
          G     as notified by the United States Marshal.

     G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          G     before 2 p.m. on                                            .
          G     as notified by the United States Marshal.
          G     as notified by the Probation or Pretrial Services Office.

                                                                         RETURN

I have executed this judgment as follows:




          Defendant delivered on                                                          to

at                                                     with a certified copy of this judgment.




                                                                                                  UNITED STATES MARSHAL


                                                                            By
                                                                                               DEPUTY UNITED STATES MARSHAL
          Case 6:13-cr-60039-SOH Document 38                           Filed 12/06/13 Page 3 of 6 PageID #: 150
AO 245D     (Rev. 09/11) Judgment in a Criminal Case for Revocations
            Sheet 3 — Supervised Release
                                                                                                  Judgment—Page      3    of          6
DEFENDANT:                 ROBINSON, Bobby Joe
CASE NUMBER:               6:13CR60039-002
                                                           SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of :        thirty (30) months




         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter as determined by the court.
G     The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)
X     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
X     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
G     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
      or is a student, as directed by the probation officer. (Check, if applicable.)
G     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
          officer;
4)        the defendant shall support his or her dependents and meet other family responsibilities;
5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
          or other acceptable reasons;
6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
          convicted of a felony, unless granted permission to do so by the probation officer;
10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
          confiscation of any contraband observed in plain view of the probation officer;
11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
          enforcement officer;
12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
          without the permission of the court; and
13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
          defendant’s criminal record or personal history or characteristics and shall permit the probation officer to make such
          notifications and to confirm the defendant’s compliance with such notification requirement.
          Case 6:13-cr-60039-SOH Document 38                          Filed 12/06/13 Page 4 of 6 PageID #: 151
AO 245D    (Rev. 09/11) Judgment in a Criminal Case for Revocations
           Sheet 3C — Supervised Release
                                                                                                Judgment—Page     4     of       6
DEFENDANT:                ROBINSON, Bobby Joe
CASE NUMBER:              6:13CR60039-002

                                            SPECIAL CONDITIONS OF SUPERVISION

1) The defendant shall submit his person, residence, place of employment, and vehicle to a search conducted by the United States
Probation Office at a reasonable time and in a reasonable manner based upon reasonable suspicion of evidence of violation of any
condition of supervised release. The defendant shall warn any other residents that their premises may be subject to search pursuant
to this condition. Failure to submit to a search may be grounds for revocation.
2) In addition to the mandatory drug testing requirements, the defendant shall comply with any referral deemed appropriate by the
U.S. Probation Officer for in-patient or out-patient evaluation, treatment, counseling or testing for substance abuse or mental health
reasons.
          Case 6:13-cr-60039-SOH Document 38                                 Filed 12/06/13 Page 5 of 6 PageID #: 152
AO 245D    (Rev. 09/11) Judgment in a Criminal Case for Revocations
           Sheet 5 — Criminal Monetary Penalties
                                                                                                            Judgment — Page     5       of    6
DEFENDANT:                    ROBINSON, Bobby Joe
CASE NUMBER:                  6:13CR60039-002
                                         CRIMINAL MONETARY PENALTIES

    The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth on Sheet 6.

                     Assessment                                             Fine                                  Restitution
TOTALS         $     -0-                                                  $ -0-                                 $ 89.00*
                                                                                       *balance outstanding on original amount of $114.00

G The determination of restitution is deferred until                      . An Amended Judgment in a Criminal Case (AO 245C) will be
    entered after such determination.

G The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
    in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must
    be paid before the United States is paid.

Name of Payee                                 Total Loss*                                Restitution Ordered                  Priority or Percentage

Kizer Recycling Center                                  $114.00*                                         $114.00                                  1st
                                            *original amount (see                           *original amount (see
                                             “Restitution” above)                            “Restitution” above)




TOTALS                               $                          114*               $                          114*


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution or a fine more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
     subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).


X    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     X the interest requirement is waived for the             G fine           X restitution.
     G the interest requirement for the           G fine              G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
          Case 6:13-cr-60039-SOH Document 38                                     Filed 12/06/13 Page 6 of 6 PageID #: 153
AO 245D     (Rev. 09/11) Judgment in a Criminal Case for Revocations
            Sheet 6 — Schedule of Payments

                                                                                                       Judgment — Page   6    of       6
DEFENDANT:                 ROBINSON, Bobby Joe
CASE NUMBER:               6:13CR60039-002

                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    X Lump sum payment of $               89.00                       due immediately, balance due

           G not later than                                               , or
           X in accordance with G C,                 G D,         G E, or          X F below); or
B    G Payment to begin immediately (may be combined with                         G C,      G D, or   G F below); or
C    G Payment in equal                        (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                           (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    G Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay.
F    X Special instructions regarding the payment of criminal monetary penalties:
           If not paid immediately, any unpaid financial penalty imposed shall be paid during the period of incarceration at a rate of not
           less than $25.00 quarterly, or 10% of the defendant’s quarterly earnings, whichever is greater. After incarceration, any
           unpaid financial penalty shall become a special condition of supervised release and may be paid in monthly installments of
           not less than 10% of the defendant’s net monthly household income, or $25.00 per month, whichever is greater, with the
           entire balance to be paid in full one month prior to the termination of supervised release.


Unless the court has expressly ordered otherwise in the special instruction above, if this judgment imposes imprisonment, payment of
criminal monetary penalties is due during the period of imprisonment. All criminal monetary penalties, except those payments made
through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




G Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount and
     corresponding payee, if appropriate.




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
G The defendant shall forfeit the defendant’s interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
